     Case 4:20-cv-05146-YGR          Document 643-1      Filed 05/02/22   Page 1 of 3




 1

 2

 3

 4

 5

 6

 7

 8

 9
                                   UNITED STATES DISTRICT COURT
10
                   NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
11

12    PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-5146-YGR-SVK
      themselves and all others similarly situated,
13                                                      [PROPOSED] ORDER GRANTING
             Plaintiffs,                                MOTION TO SEAL
14
             v.                                         Judge: Hon. Susan van Keulen, USMJ
15
      GOOGLE LLC,
16
             Defendant.
17

18

19

20

21

22

23

24

25

26
27

28
                                                   -1-               Case No. 4:20-cv-5146-YGR-SVK
                                      [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION TO SEAL
     Case 4:20-cv-05146-YGR           Document 643-1         Filed 05/02/22     Page 2 of 3



                                           [PROPOSED] ORDER
 1
            Before the Court is Plaintiffs’ Administrative Motion to Consider Whether Another Party’s
 2
     Material Should be Sealed (Dkt. 632) (“Motion”). Having considered the Motion, supporting
 3
     declaration, and other papers on file, and good cause having been found, the Court ORDERS as
 4
     follows:
 5
           Document              Text To Be Sealed             Basis for Sealing Portion of Document
 6
       Plaintiffs’            GRANTED as to the             The information requested to be sealed
 7     Response to            portions at:                  contains Google’s highly confidential and
       Google’s                                             proprietary information regarding highly
 8     Objections to          Pages 1:6-8, 1:11, 11:19,     sensitive features of Google’s internal
       Special Master’s       1:21, 1:23, 1:27, 2:1, 2:9-   systems and operations, including various
 9     Sealed                 11, 2:16, 2:18, 2:20,         types of Google’s internal projects, data
10     Recommendations        2:23, 2:25, 2:27-28, 3:1-     signals, and logs, and their proprietary
       and Order Dated        3, 3:5-6, 3:8, 3:10, 3:12-    functionalities, as well as internal metrics,
11     April 4, 2022          13, 3:15-22, 3:24-25,         that Google maintains as confidential in the
                              3:27-28, 4:1-23, 4:25-28,     ordinary course of its business and is not
12                            5:1-13, 5:16, 5:22-27,        generally known to the public or Google’s
                              6:1-2, 6:6, 6:8, 6:10-11,     competitors. Such confidential and
13                            6:12, 6:14-27, 7:1-11,        proprietary information reveals Google’s
14                            7:14322, 7:28, 8:1-2,         internal strategies, system designs, and
                              8:15, 8:17                    business practices for operating and
15                                                          maintaining many of its important services,
                                                            and falls within the protected scope of the
16                                                          Protective Order entered in this action. See
                                                            Dkt. 61 at 2-3. Public disclosure of such
17                                                          confidential and proprietary information
18                                                          could affect Google’s competitive standing as
                                                            competitors may alter their systems and
19                                                          practices relating to competing products. It
                                                            may also place Google at an increased risk of
20                                                          cybersecurity threats, as third parties may
                                                            seek to use the information to compromise
21
                                                            Google’s internal practices relating to
22                                                          competing products.
       Declaration of         GRANTED as to the             The information requested to be sealed
23     Zubair Shafiq in       portions at:                  contains Google’s highly confidential and
       Support of                                           proprietary information regarding highly
24     Plaintiffs’ response   Pages 2:7, 2:10, 2:13-17,     sensitive features of Google’s internal
       to Google’s            2:24-25, 3:1-3, 3:5-7,        systems and operations, including various
25
       Objections to          3:10-12, 3:14, 3:16-27,       types of Google’s internal projects, data
26     Special Master’s       4:1-27, 5:1, 5:3, 5:7-10,     signals, and logs and their proprietary
       April 4, 2022          5:13, 5:15-20, 5:22-24,       functionalities, that Google maintains as
27     Report and             5:26-27, 6:2, 6:4-26,         confidential in the ordinary course of its
       Recommendations        6:27, 7:1-10                  business and is not generally known to the
28
                                                    -2-               Case No. 4:20-cv-5146-YGR-SVK
                                       [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION TO SEAL
       Case 4:20-cv-05146-YGR   Document 643-1     Filed 05/02/22     Page 3 of 3



                                                 public or Google’s competitors. Such
  1
                                                 confidential and proprietary information
  2                                              reveals Google’s internal strategies, system
                                                 designs, and business practices for operating
  3                                              and maintaining many of its important
                                                 services, and falls within the protected scope
  4                                              of the Protective Order entered in this action.
                                                 See Dkt. 61 at 2-3. Public disclosure of such
  5
                                                 confidential and proprietary information
  6                                              could affect Google’s competitive standing as
                                                 competitors may alter their systems and
  7                                              practices relating to competing products. It
                                                 may also place Google at an increased risk of
  8                                              cybersecurity threats, as third parties may
  9                                              seek to use the information to compromise
                                                 Google’s internal practices relating to
 10                                              competing products.

 11
             SO ORDERED.
 12

 13
       DATED: ___________________                 _______________________________
 14                                               HON. SUSAN VAN KEULEN
                                                  UNITED STATES MAGISTRATE JUDGE
2815
 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26
 27

 28
                                              -3-               Case No. 4:20-cv-5146-YGR-SVK
                                 [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION TO SEAL
